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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

PALTALK HOLDINGS, INC.,                           §
                                                  §
                   Plaintiff                      §
                                                  §
vs.                                               §       No. 6:21-cv-00757-ADA
                                                  §
CISCO SYSTEMS, INC.,                              §       JURY TRIAL DEMANDED
                                                  §
                   Defendant.                     §



      ORDER GRANTING DEFENDANT CISCO SYSTEMS, INC.’S MOTION TO
             EXCLUDE PORTIONS OF EXPERT TESTIMONY BY
             MR. WALTER BRATIC AND DR. SCOTT SCHAEFER


       Before the Court is the Defendant Cisco Systems, Inc.’s (“Cisco’s”) Motion to Exclude

Portions of Expert Testimony by Mr. Walter Bratic and Dr. Scott Schaefer. The Court GRANTS

this Motion and ORDERS to exclude as unreliable and impermissible under Daubert and

progeny the opinions offered by Paltalk’s experts, found in Ex. 1 (Bratic Report) ¶¶ 9, 25, 36, 39,

102–03, 106, 135–36, 141–67; Ex. 2 (Schaefer Report) ¶¶ 17–18, 209–41, including any

argument or testimony related thereto at trial.



SO ORDERED.

SIGNED on this _______ day of _______________________, 2022.



                                                       __________________________________
                                                       ALAN D ALBRIGHT
                                                       UNITED STATES DISTRICT JUDGE
